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UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

NORTH CAROLINA MIDDLE BANKRUPTCY
PDF FILE WITH AUDIO FILE ATTACHMENT

      24-50204

      Freirich Foods, Inc.

      1. *3* Motion by Debtor to Use Cash Collateral



      Case Type :                       bk
      Case Number :                     24-50204
      Case Title :                      Freirich Foods, Inc.
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